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     Attorney for Defendant Victor Williams
 6

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 9
                                 UNITED STATES DISTRICT COURT
10
                                        DISTRICT OF NEVADA
11
                                                   *****
12   UNITED STATES OF AMERICA,
                                                           Case No: 2:12-cr-00175-KJD-RJJ-1
13
                    Plaintiff,
14                                                         DEFENDANT VICTOR WILLIAMS’S
            v.                                             UNOPPOSED MOTION TO
15                                                         CONDUCT A PRE-PLEA
     VICTOR WILLIAMS,                                      PRESENTENCE
16                                                         INVESTIGATION REPORT AND
                    Defendant.                             PROPOSED ORDER
17

18
            COMES NOW appointed counsel Melanie A. Hill, Esq. counsel for defendant Victor
19

20   Williams, and hereby moves this Court for an Order directing the Probation Department to
21   prepare a Pre-Plea Presentence Investigation Report on Defendant Victor Williams determining
22
     his criminal history category for the following reasons:
23
            1) It appears that Defendant Williams may be subject to substantially different
24

25               sentencing ranges depending upon his verified criminal history.        Defendant

26               Williams’s decision regarding how to proceed may be drastically impacted by his
27
                 sentencing exposure in this regard. The pre-plea presentence report determining
28

                                                     1
     Case 2:12-cr-00175-KJD-VCF         Document 55          Filed 10/22/12   Page 2 of 3




         Defendant’s criminal history category will promote judicial economy and aid in the
 1

 2       manner in which this case is ultimately resolved.

 3    2) Undersigned counsel therefore respectfully requests an order directing the
 4
         Department of Probation to conduct a pre-plea presentence investigation report
 5
         determining Defendant’s criminal history category as soon as possible.
 6

 7
      3) Undersigned counsel has spoken to the prosecutor, Assistant United States Attorney

 8       Phillip Smith, regarding this request and he has no opposition.
 9    DATED this 3rd day of September, 2012.
10

11                                                LAW OFFICE OF MELANIE HILL
12

13                                                /s/ Melanie A. Hill
                                                  Melanie A. Hill, Esq.
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         Case 2:12-cr-00175-KJD-VCF           Document 55       Filed 10/22/12    Page 3 of 3




 1
                                 UNITED STATES DISTRICT COURT
 2
                                      DISTRICT OF NEVADA
 3
                                                 *****
 4
     UNITED STATES OF AMERICA,
 5
                                                         Case No: 2:12-cr-00175-KJD-RJJ-1
                    Plaintiff,
 6                                                       ORDER GRANTING DEFENDANT
            v.                                           VICTOR WILLIAMS’S UNOPPOSED
 7                                                       MOTION TO CONDUCT A PRE-
     VICTOR WILLIAMS,                                    PLEA PRESENTENCE
 8                                                       INVESTIGATION REPORT
                    Defendant.
 9

10

11                                             ORDER

12               IT IS HEREBY ORDERED that the Probation Department will prepare a Pre-
13
     Sentence Investigation Report on Defendant Victor Williams determining his criminal history
14
     category and make it available to counsel on or before September 24, 2012.
15
                        22d day of 2FWREHU, 2012.
            DATED this ____
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18                                               _____________________________________
19
                                                 UNITED STATES 0$*,675$7( JUDGE

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